
PER CURIAM.
This appeal questions the correctness of a summary final judgment entered in favor of appellee in a malpractice action arising out of a doctor-patient relationship. Appellant’s second point charges that the court erred in denying appellant’s motion to transfer the cause from Monroe County to *840Dade County contrary to a signed stipulation by the parties.
Upon careful consideration of the record on appeal, briefs and arguments of counsel we have concluded that the appellee-de-fendant has conclusively established the absence of a genuine issue of material fact and that he was entitled to a summary judgment as a matter of law.
We further hold that the trial judge did not abuse his discretion in refusing to transfer the cause to Dade County.
Affirmed.
